Case 1:03-cr-10052-.]DT Document 106 Filed 08/18/05 Page 1 of 7 PagelD 107
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DAV|D PASCAL
Mark L. Aclee, Retained
Defense Attorney
111 West Eaton Street
Trenton, TN 38382

 

JUDGMENT PURSUANT TO RE-SENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on June 14, 2004. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title a section NM MM M_Ll§t
21 usc §346 & conspiracy to Attempt to 02!27/2003 1

§841(a)(1) Manufacture Methamphetamine

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count(s) 2 and 3 dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 08/12/1965 August 17, 2005
Deft’s U.S. Marsha| No.: 19215-076

Defendant’s Mai|ing Address:
3 Greers Chapel Road
Dyer, TN 38330

Q&MMZ)\M

JAME D. TODD
CH|E UN|TED STATES DlSTRlCT JUDGE

Wlth Rule 55 and!or 32[b} FFlCI'P nn

Au ust f 2 , 2005
Thle document entered on the docket m IE(Epltanoe g

Case 1:03-cr-10052-.]DT Document 106 Filed 08/18/05 Page 2 of 7 PagelD 108

Case No: 1103cr10052-02-T Defendant Name: David Pascal Page 2 of 6
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 70 Months as to Count 1.

The Court recommends to the Bureau of Prisons: institution where the defendant can
participate in a program for substance abuse testing and treatment

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the U. S. District Court Cterk’s Office in the Order to Surrender.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNlTED STATES l\/|ARSHAL
By:

 

Deputy U.S. Marshal

Case 1:03-cr-10052-.]DT Document 106 Fiied 08/18/05 Page 3 of 7 PagelD 109

Case No: 1:O3cr10052-02-T Defendant Name: David Pascai Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ofEcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d. used,
distributed, or administered;

Case 1:03-cr-10052-.]DT Document 106 Fiied 08/18/05 Page 4 of 7 PagelD 110

Case No: 1:03cr10052-02-T Defendant Name: David Pascal Page 4 of 6

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ocher;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE
The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Office.

3. The defendant shall provide the Probation Officer access to any requested financial
information.

4. The defendant shail cooperate with the United States Probation Office in the collection of

DNA.

Case 1:03-cr-10052-.]DT Document 106 Fiied 08/18/05 Page 5 of 7 PagelD 111

Case No: 1:03cr10052-02-T Defendant Name: David Pascal Page 5 of 6

CRIM|NAL MONETARY PENALTIES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentr pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $2,101.00

The Special Assessment shall be due immediately
FlNE
No fine imposed.

REST|TUT|ON

Restitution in the amount of $2,101.00 is hereby ordered. The defendant and co-
defendant Jason Johnson shall be jointly and severally liable for the entire amount of
restitution. Restitution shall be paid in monthly installments equal to 10% of the defendants
total gross monthly household income from ali sources. Defendant shall regularly furnish
proof of his gross monthly household income, upon which the amount of monthly payments
shall be based, to the U S. Probation Office. The defendant shall make restitution to the
following victims in the amounts listed below.

Priority Order
Total Amount of or
Name of payee Amount Restitution Ordered Percentage
of Loss of Payment

DRUG ENFORCEMENT $2,10'| .OO
ADM|NISTRAT|ON,

Attn: AF’PROPR|AT|ON NO.

C6-2003-0201-0212

Case 1:03-cr-10052-.]DT Document 106 Fiied 08/18/05 Page 6 of 7 PagelD 112

Case No: ‘i:03cr10052-02-T Defendant Name: David Pascal Page 6 of 6

if the defendant makes a partial payment, each payee shall receive an approximately

proportional payment unless specified othenrvise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered Wiil be the same unless,

pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 106 in
case 1:03-CR-10052 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

Mark L. Agee
AGEE LAW FIRM
111 W. Eaton St.
Trenton, TN 38382

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

